Case 2:24-cv-00230-JRG          Document 87-1 Filed 11/22/24     Page 1 of 4 PageID #:
                                          1122



Exhibit A: Eric Enger’s August 26, 2024, Letter to Charter.




Exhibit B: Eric Enger’s September 18, 2024, Letter to Charter.




                                               1
Case 2:24-cv-00230-JRG          Document 87-1 Filed 11/22/24    Page 2 of 4 PageID #:
                                          1123



Exhibit C: Carlos Ruiz’s October 30, 2024, Letter to Charter.




Exhibit D: Carlos Ruiz’s November 15, 2024, Email to Charter.




                                               2
Case 2:24-cv-00230-JRG         Document 87-1 Filed 11/22/24      Page 3 of 4 PageID #:
                                         1124



Exhibit E: Chris Larson’s November 15, 2024, Email to Iarnach.




Exhibit F: Chris Larson’s November 7, 2024, Letter to Iarnach.




                                              3
Case 2:24-cv-00230-JRG          Document 87-1 Filed 11/22/24           Page 4 of 4 PageID #:
                                          1125



Exhibit G: Carlos Ruiz’s November 9, 2024, Email to Charter.




Exhibit H: Charter’s Website, https://corporate.charter.com/about-charter (accessed on
November 21, 2024).




                                               4
